Case 5:16-CV-01131-OLG Document 1-5 Filed 11/10/16 Page 1 of 35

EXhibit D

 

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 2 of 35

ici/2016 3:17;42 Plvl 2 CitS le/SaC'l

Donna Kay |\/chinney
Bexar County District C|erk

Accepted By: Laura Rodriguez Wl]d
CAUSE N3_016cl17354
FRANCISCO MAGALLANEZ AND § IN THE DISTRICT COURT
MARIA MAGALLANEZ §
§
vs. § 37Lh_JuDICIAL olsTRlCT
§
ALLSTATE FIRE AND CASUALTY §
lNSURANCE COl\/IPANY AND §
MARC l\/IERRITT § BEXAR COUNTY, TEXAS

PLAINTIFFS’ ORIGINAL PETITION WITH DISCOVERY ATTACHED
TO THE HONORABLE J'UDGE OF SAID COURT:

COME NOW FRANCISCO l\/IAGALLANEZ AND l\/lARlA MAGALLANEZ
(hereinafter referred to as “Plaintiffs”), complaining of Defendants ALLSTATE FIRE AND
CASUALTY INSURANCE COl\/IPANY (hereinafter referred to as “ALLSTATE”) and MARC
MERRITT (hereinafter referred to as “l\/[ERRITT”), and for cause of action would respectfully
show unto the Court and Jury as follows:

I. DISCOVERY CONTROL PLAN

Plaintiffs intend for discovery to be conducted under chel 3 of Rule 190 of the Texas
Rules of Civil Procedure. This case involves complex issues and Will require extensive
discovery. Therefore, Plaintiffs ask the Court to order that discovery be conducted in accordance
With a discovery control plan tailored to the particular circumstances of this suit.

II. PARTIES AND SERVICE

Plaintiffs, FRANCISCO MAGALLANEZ AND MARIA l\/IAGALLANEZ, are
individuals and residents of Bexar County.

Defendant, ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY, is an

insurance company engaging in the business of insurance and operating in the State of Texas

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 3 of 35

procuring and adjusting policies in Texas. ALLSTATE FlRE AND CASUALTY lNSURANCE
COMPANY can be served through its registered agent at the following address:

CT Corporation System

1999 Bryan St., Suite 900

Dallas, Texas 75201~3136.

Defendant, MARC MERRITT, is an individual and resident domiciled in the State of
Texas engaging in the business of insurance adjusting policies and claims in Texas. l\/IARC
MERRITT can be served at the following address:

Marc Merritt

4920 Westway Park Blvd.~ Ste. 240

Houston, Texas 77041-5225

III. JURISDICTION AND VENUE

This Court has Jurisdiction over this case in that the amount in controversy exceeds the
minimum jurisdictional limits ofthis Court.

fhc Court has jurisdiction over ALLSTATE because this defendant is an insurance
company that engages in the business of insurance in the State of Texas, and Plaintiffs" causes of
action arise out of this defendant’s business activities in the State of Texas.

The Court has jurisdiction over MERRITT because this defendant engages in the
business of insurance adjusting policies and claims in the State of Texas, and Plaintiffs’ causes of

action arise out of this defendant’s business activities in the State of Texas.

Venue is mandatory and proper in Bexar County, Texas, because all or a substantial part

' of the events giving rise to the lawsuit occurred in this county (see Tex. Civ. Prac. & Rem. Code

§ 15.002) and the insured property that is the basis of this lawsuit is located in Bexar County,

Texas.

 

 

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 4 of 35

IV. CONDITIONS PRECEDENT

All conditions precedent to recovery have been performed, waived, or have occurred.
V. FACTS

Plaintiffs are the owners of insurance Policy No. 000916471487 issued by ALLSTATE
(hereinafter referred to as the "Policy").
Plaintiffs own the insured property which is specifically located at 5463 Seahorse Dr.,
Bexar County, San Antonio, Texas 78242 (hereinafter referred to as the "Property").
ALLSTATE or its agent sold the Policy, insuring the Property, to Plaintiffs.
On or about November l, 2015, a wind and hailstorm struck San Antonio, Texas causing
severe damage to homes and businesses throughout the area, including Plaintiffs’ home.
Plaintiffs submitted a claim to ALLSTATE against the Policy for roof and other damage
and resulting water damage the ,Property sustained as a result of a wind and hail storm.
Plaintiffs asked that ALLSTATE cover the cost of repairs to the Property pursuant to the
Policy and any other available coverages under the Policy.
ALLSTATE has assigned blaim Number 0408665545 Bl\/Il\/l to Plaintiffs’ claim.
ALLSTATE assigned MERRITT to individually investigate and adjust the claim.
MERRITT was charged with investigating the claim and communicating with Plaintiffs
about the Policy tenns. l\/IERRITT inspected Plaintiffs’ property on or about July 18,
2016. During the inspection, MERRITT was tasked with the responsibility of conducting
a thorough and reasonable inspection of Plaintiffs’ claim, including determining the cause
of and then qualifying the damage done to Plaintiffs’ home. MERRITT prepared an
estimate for costs to repair Plaintiffs’ Property on or about July 18, 2016, which vastly

underscoped the actual covered damages to the home, thus demonstrating MERRITT did

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 5 of 35

not conduct a thorough investigation of the claim. l\/loreover, MERRITT conducted a
substandard inspection of Plaintiffs’ Property by omitting covered damages to the
dwelling’s roof and other structures. Ultimately, MERRITT’s estimate did not allow
adequate funds to cover the cost of the repairs to all damages sustained by Plaintiffs.
MERRITT failed to fairly evaluate and adjust Plaintiffs’ claim as he is obligated to do
under the Policy and Texas law. By failing to properly investigate the claim, preparing a
vastly underscoped estimate which resulted in a wholly inaccurate claim payment,
MERRITT engaged in unfair settlement practices by misrepresenting material facts to
Plaintiffs ~ that the covered damage to the home was much less than it actually is.
Specifically, MERRITT both underestimated and undervalued the cost of materials
required for necessary repairs, incorrectly applied material sales tax, and failed to include
contractor’s overhead and profit. MERRITT’s inadequate investigation was relied upon
by ALLSTATE in this action and resulted in Plaintiffs’ claim being undervalued and
underpaid.

MERR_ITT failed to properly adjust the claim and ALLSTATE has denied at least a
portion of the claim without an adequate investigation, even though the Policy provided
coverage for losses such as those suffered by Plaintiffs. As a result of MERRITT’s
unreasonable investigation of the claim, including not providing full coverage for
damages sustained by Plaintiffs, as well as under-scoping the damages during his
investigation and thus denying adequate and sufficient payment to Plaintiffs’ to repair
their home, Plaintiffs’ claim was improperly adjusted.

ALLSTATE and MERR[TT wrongfully denied Plaintiffs’ claim for repairs to the

Property, even though the Policy provided coverage for losses such as those suffered by

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 6 of 35

Plaintiffs. Furthermore, ALLSTATE failed to pay Plaintiffs’ claim by not providing
coverage for the damages sustained by Plaintiffs. l\/IERRITT’s mishandling of Plaintiffs’
claim has also caused a delay in their ability to fully repair their home, which resulted in
additional damage.

To this date, Plaintiffs’ claim still remains unpaid and Plaintiffs still have not been able to
properly repair the Property.

ALLSTATE and MERRITT failed to perform their contractual duty to adequately
compensate Plaintiffs under the terms of the Policy. Specifically, ALLSTATE and
MERRITT failed and refused to pay the full proceeds of the Policy, although due demand
was made for proceeds to be paid in an amount sufficient to cover the damaged Property
and all conditions precedent to recovery upon the Policy had been carried out and
accomplished by Plaintiffs. ALLSTATE’s and MERRITT’$ conduct constitutes a breach
of the insurance contract between ALLSTATE and Plaintiffs.

MERRITT misrepresented to Plaintiffs that the damage to the Property was not covered
under the Policy by omitting covered damages sustained to Plaintiff’s dwelling, roof_, and
other structures in the estimate l\/[ERRITT prepared, even though the damage was caused
by a covered occurrence. MERRITT’s conduct constitutes a violation of the Texas
Insurance Code, Unfair Settlement Practices. TEX. INS. CODE Section 541.060(a)(l).
ALLSTATE and l\/[ERRITT failed to make an attempt to settle Plaintiffs’ claim in a fair
manner, although they -were aware of their liability to Plaintiffs under the Policy.
ALLSTATE’s and MERRITT’s conduct constitutes a violation of the Texas Insurance

Code, Unfair Settlement Practices. TEX. INS. CODE Section 541.060 (a)(Z)(A).

 

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 7 of 35

ALLSTATE and MERRITT failed to explain to Plaintiffs the reasons for their offer of an
inadequate settlement. Specifically, ALLSTATE failed to offer Plaintiffs adequate
compensation, without any explanation why full payment was not being made.
Furthermore, MERRITT did not communicate that any future settlements or payments
would be forthcoming to pay for the entire losses covered under the Policy, nor did he
provide any explanation for the failure to adequately settle Plaintiffs’ claim.
ALLSTATE’s and MERRITT’s conduct is a violation of the Texas Insurance Code,
Unfair Settlement Practices. TEX. INS. CODE Section 541 .060(a)(3).

ALLSTATE and MERRITT failed to affirm or deny coverage of Plaintiffs’ claim within
a reasonable time. Specifically, Plaintiffs did not receive timely indication of acceptance
or rejection, regarding the full and entire claim, in writing from ALLSTATE and
MERRITT. ALLSTATE’s and MERRITT’s conduct constitutes a violation of the Texas
Insurance Code, Unfair Settlement Practices. TEX. INS. CODE Section 541 .060(a)(4).
ALLSTATE refused to fully compensate Plaintiffs, under the terms of the Policy, even
though MERRITT failed to conduct a reasonable investigation. Specifically, MERRITT
performed an outcome-oriented investigation of Plaintiffs’ claim, which resulted in a
biased, unfair and inequitable evaluation of Plaintiffs’ losses to the Property.
ALLSTATE’s and MERRITT’s conduct constitutes a violation of the Texas Insurance
Code, Unfair Settlement Practices. TEX. lNS. CODE Section 541 .060 (a)(7).
ALLSTATE failed to meet its obligations under the Texas Insurance Code regarding
timely acknowledging Plaintiffs’ claim, beginning an investigation of Plaintiffs’ claim

and requesting all information reasonably necessary to investigate Plaintiffs’ claim within

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 8 of 35

the statutorily mandated deadline. ALLSTATE’s conduct constitutes violation of the
Texas Insurance Code, Prompt Payment of Claiins, TEX. lNS. CODE Section 542.055.
ALLSTATE failed to accept or deny Plaintiffs’ full and entire claim within the statutory
mandated deadline of receiving all necessary information ALLSTATE’s conduct
constitutes violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS.
CODE Section 542.056.

ALLSTATE and MERRITT failed to meet their obligations under the Texas Insurance
Code regarding payment of claim without delay. Specifically, ALLSTATE and
MERR!TT have delayed full payment of Plaintiffs’ claim longer than allowed and, to
date; Plaintiffs have not yet received full payment for their claim. ALLSTATE’s and
MERRITT’s conduct constitutes violation of the Texas Insurance Code, Prompt Payment
of Claims, TEX. INS. CODE Section 542.058.

`From and after the time Plaintiffs’ claim was presented to ALLSTATE and MERRITT,
the liability of ALLSTATE and MERRITT to pay the full claim in accordance with the
terms of the Policy was reasonably clear. However, ALLSTATE and MERRITT have
refused to pay Plaintiffs in full, despite there being no basis whatsoever on which a
reasonable insurance company would have relied to deny v the full payment
ALLSTATE’s and MERRITT’s conduct constitutes a breach of the common law duty of
good faith and fair dealing.

ALLSTATE and MERRITT knowingly or recklessly made false representations, as

described above, as to material facts and/or knowingly concealed all or part of material

information from Plaintiffs.

 

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 9 of 35

X. As a result of ALLSTATE’s and MERRITT’s wrongful acts and omissions, Plaintiffs
were forced to retain the professional services of the attorney and law firm who is
representing Plaintiffs With respect to these causes of action.

Y. Plaintiffs’ experience is not an isolated case, The acts and omissions of ALLSTATE
and MERRITT committed in this case, or similar acts and omissions, occur with such
frequency that they constitute a general business practice of ALLSTATE and MERRITT
with regard to handling these types of claims. ALLSTATE’s and MERRITT’s entire
process is unfairly designed to reach favorable outcomes for the company at the

expense of the policyholder

VI. THEORIES OF LIABILITY
`A. Cause of Action for Breach of Contract

Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs
herein.

According to the Insurance Policy that Plaintiffs purchased, ALLSTATE and MERR[TT
have the duty to investigate and pay Plaintiffs’ policy benefits for claims made for covered
damages, including additional benefits under the Policy, resulting from a wind and hail storm.
As a result of a Wind and Hailstorm and/or ensuing losses from a wind and hail storm, both of
which are covered perils under the Policy, Plaintiffs’ home and personal Property have been

damaged

ALLSTATE’s and MERRITT’s failure and refusal, as described above, to pay the
adequate compensation as they are obligated to do under the terms of the Policy in question

and under the laws of the State of Texas, constitutes a breach of ALLSTATE’s contract with

 

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 10 of 35

Plaintiffs. As a result of this breach of contract, Plaintiffs have suffered the damages that are
described in this petition.
B. Cause of Action for Violation of Section 542

Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs
herein.

ALLSTATE’s and MERRITT’s acts, omissions, failures and conduct that are described
in this petition violate Section 542 of the Texas Insurance Code, Within the timeframe required
after the receipt of either actual or written notice of Plaintiffs’ claim, ALLSTATE and
MERRITT did not request from Plaintiffs any items, statements, and forms that they reasonably
believed at that time would be required from Plaintiffs for their claiin. As a result, ALLSTATE
and MERRITT have violated Section 542 by failing to accept or reject Plaintiffs’ claim in
writing Within the statutory timeframe. ALLSTATE and MERRITT also violated Section 542 by
failing to pay Plaintiffs’ claim within the applicable statutory period In addition, in the event it
is determined that ALLSTATE owes Plaintiffs any additional monies on Plaintiffs’ claiin, then
ALLSTATE has automatically violated Section 542 in this case.

C. DTPA Cause of Action

Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs
herein.

Plaintiffs incorporate all the allegations in this petition for this cause of action against
ALLSTATE and MERRITT under the provisions of the DTPA. Plaintiffs are consumers of
goods and services provided by ALLSTATE and MERRITT pursuant to the DTPA. Plaintiffs

have met all conditions precedent to bringing this cause of action against ALLSTATE and

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 11 of 35

MERRITT. Specifically, ALLSTATE’s and MERRITT’s violations of the DTPA include,
without limitation, the following matters:

By their acts, omissions, failures, and conduct that are described in this petition,
ALLSTATE and MERRITT have violated Sections 17.46 (b)(Z), (5), (7), (9), (12) and (24) of
the DTPA. in this respect, ALLSTATE’s and MERRITT’s violations include, without
limitation, (1) their unreasonable delay in the investigation, adjustment and resolution of
Plaintiffs’ claim, (2) their failure to give Plaintiffs the benefit of the doubt, and (3) their failure to
pay for the proper repair of Plaintiffs’ home on which liability had become reasonably clear.

As described in this petition, ALLSTATE represented to Plaintiffs that its insurance
policy and its adjusting and investigative services that were provided by MERRITT had
characteristics or benefits that they did not have, which gives Plaintiffs the right to recover under
Section 17.46 (b)(5) of the DTPA;

As described in this petition, ALLSTATE represented to Plaintiffs that its insurance
policy and its adjusting and investigative services that were provided by MERRITT were of a
particular standard; quality, or grade when they were of another in violation of Section 17.-46
(b)(7) of the DTPA;

As described in this petition, ALLSTATE advertised its insurance policy and its adjusting
and investigative services that were provided by MERRITT with intent not to sell them as
advertised in violation of Section 17.46 (b)(9) of the DTPA;

A. As described in this petition, ALLSTATE represented to Plaintiffs that its

insurance policy and its adjusting and investigative services that were provided by

MERRITT conferred or involved rights, remedies, or obligations that they did not

10

 

 

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 12 of 35

have, which gives Plaintiffs the right to recover under Section 17.46 (b)(12) of the
DTPA;

As described in this petition, ALLSTATE and MERRITT failed to disclose
information concerning goods or services which were known at the time of the
transaction and such failure to disclose was intended to' induce Plaintiffs into a
transaction into which the Plaintiffs would not have entered had the information
been disclosed, which gives Plaintiffs the right to recover under Section 17.46
(b)(24) erth DTPA;

ALLSTATE and MERRITT have breached an express warranty that the damage
caused by a wind and hail storm would be covered under the insurance policies.
This breach entitles Plaintiffs to recover under Sections 17.46 (b)(12) and (19) and
17.50 (a)(2) of the DTPA;

ALLSTATE’s and MERRITT’s actions, as described in this petition, are
unconscionable in that they took advantage of Plaintiffs’ lack of knowledge,
ability, and experience to a grossly unfair degree. ALLSTATE’s and MERRITT’s
unconscionable conduct give Plaintiffs the right to relief under Section 17.50(a)(3)
of the DTPA; and

ALLSTATE’s and MERRITT’s conduct, acts, omissions, and failures, as
described in this petition, are unfair practices in the business of insurance in

violation of Section 17.50 (a)(4) of the DTPA.

All of the above-described acts, omissions, and failures of ALLSTATE and MERR[TT

are a producing cause of Plaintiffs’ damages that are described in this petition.

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Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 13 of 35

All of the above-described acts, omissions, and failures of ALLSTATE and MERRlTT
were done knowingly and intentionally as those terms are used in the Texas Deceptive Trade
Practices Act.

D. Cause of Action for Unfair Insurance Practices

Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs
herein.

Plaintiffs incorporate all the allegations in this petition for this cause of action against
ALLSTATE and MERRITT under the Texas Insurance Code, Plaintiffs have satisfied all
conditions precedent to bringing this cause of action.

MERR]TT is liable individually for his unfair and deceptive acts, irrespective of the fact
that he was acting on behalf of ALLSTATE, because he is a “person” defined by section
541.002(2). The term “person” is defined as “any lindividual, corporation, association,
partnership, reciprocal or interinsurance exchange, Lloyds plan, fraternal benefit society, other
legal entity iri the business of insurance, including an agent, broker, adjuster or life and health
insurance counselor.” TEX. lNS.CODE § 541.002(2). (emphasis add-ed). (See also Liberly Mutual
Insurance Co. v. Garrison Contractors, Inc., 9616 S.W.Zd 482, 484 (Tex. 1988) (holding an
insurance company employee to be a “person” for the purpose of bringing an action against him
or her under the Texas Insurance Code and subjecting him or her to individual liability)).

By their acts, omissions, failures, and conduct, ALLSTATE and MERRlTT have
engaged in unfair and deceptive acts or practices in the business of insurance in violation of 541
of the Texas Insurance Code, Such violations include, without limitation, all the conduct
described in this petition plus ALLSTATE’s and MERRITT’s unreasonable delays in the

investigation, adjustment, and resolution of Plaintiffs’ claim and ALLSTATE’s failure to pay for

12

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 14 of 35

the proper repair of Plaintiffs’ home on which liability had become reasonably clear. They

further include ALLSTATE’s and MERRITT’s failure to give Plaintiffs the benefit of the doubt.

Specifically, ALLSTATE and MERRITT are guilty of the following unfair insurance practices:

A.

Engaging in false, misleading, and deceptive acts or practices in the business of
insurance in this case;

Engaging in unfair claimssettlement practices;

Misrepresenting to Plaintiffs pertinent facts or policy provisions relating to the
coverage at issue;

Not attempting in good faith to effectuate a prompt, fair, and equitable settlement
of claims submitted in which liability has become reasonably clear;

Failing to affirm or deny coverage of Plaintiffs’ claim within a reasonable time;
Refusing to pay Plaintiffs’ claim without conducting a reasonable investigation
with respect to the claim; and

Failing to provide promptly to a policyholder a reasonable explanation of the
basis in the insurance policy in relation to the facts or applicable law for the

denial of a claim or for the offer of a company's settlement

ALLSTATE and MERRITT have also breached the Texas insurance Code when they

breached their duty of good faith and fair dealing. ALLSTATE’s and MERRITT’s conduct as

described herein has resulted in Plaintiffs’ damages that are described in this petition.

All of the above-described acts, omissions, and failures of ALLSTATE and MERRITT

were done knowingly as that term is used in the Texas Insurance Code.

13

 

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 15 of 35

E. Cause of Action for Breach of Duty of Good Faith and Fair Dealing

Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs
herein. j

Plaintiffs incorporate all the allegations of the preceding paragraphs for this cause of
action. By their acts, omissions, failures and conduct, ALLSTATE and MERRITT have
breached their common law duty of good faith and fair dealing by failing to pay the proper
amounts on Plaintiffs’ entire claim without any reasonable basis and by failing to conduct a
reasonable investigation to determine whether there was a reasonable basis for this denial.
ALLSTATE and MERRITT have also breached this duty by unreasonably delaying payment of
Plaintiffs’ entire claim and by failing to settle Plaintiffs entire claim because ALLSTATE and
MERRITT knew or should have known that it was reasonably clear that the claim was covered

These acts, omissions, failures, and conduct of ALLSTATE and MERRITT are a
proximate cause of Plaintiffs’ damages.
F. Cause of Action for Fraud

ALLSTATE and MERRITT are liable to Plaintiffs for common law fraud Each and
every one of the representations, as described above, concerned material facts for the reason that
absent such representations, Plaintiffs would not have acted as they did, and which ALLSTATE
and MERRITT knew Were false or made recklessly without any knowledge of their truth as a
positive assertion. The statements were made with the intention that they should be acted upon
by Plaintiffs, who in turn acted in reliance upon the statements, thereby causing Plaintiffs to

suffer injury and constituting common law fraud

14

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16_ Page 16 of 35

VII. WAIVER AND ESTOPPEL

ALLSTATE and MERRITT have waived and are estopped from asserting any coverage

defenses, conditions, exclusions, or exceptions to coverage not contained in any reservation of

rights letter to Plaintiffs.
VIII. DAMAGES

The above described acts, omissions, failures and conduct of ALLSTATE and MERRlTT

have caused Plaintiffs’ damages which include, without limitation, the cost to properly repair

Plaintiffs’ home and any investigative and engineering fees incurred in the claim. Plaintiffs are
also entitled to recover consequential damages from ALLSTATE"s breach of contract. Plaintiffs
are also entitled to recover the amount of their claim plus an 18% per annum penalty on that
claim against ALLSTATE and MERRITT as damages under Section 542 of the Texas Insurance
Code, plus prejudgment interest and attorneys’ fees. All the damages described in this petition
are within the jurisdictional limits of the Court.
IX. STATEMENT OF RELIEF AND DAMAGES OVER $200,000
The total damages sought by Plaintiffs against ALLSTATE and MERRITT for all

elements of damage exceed the sum $200,000, including exemplary and punitive damages,

penalties, attorneys’ fees, interests, and costs. Plaintiffs will not seek or accept damages and/or v

award that may be rendered in the above-captioned matter in excess of $1,000,000. As a result
of ALLSTATE’s and MERRITT’s conduct that is described in this petition, Plaintiffs plead out
of the expedited actions process governed by Rules 47 and 169 under the Texas Rules of Civil
Procedure. Plaintiffs further plead forjudgment for all the other relief to which it deems justly

entitled

15

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 17 of35

x. ADDITIoNAL DAMAGES
ALLSTATE and MERRITT have also "knowingly" and "intentionally" committed
deceptive trade practices and unfair insurance practices as those terms are defined in the
applicable statutes. Because of ALLSTATE’s and MERRITT’s knowing and intentional
misconduct, Plaintiffs are entitled to additional damages as authorized by Section l7.50(b)(1) of
the DTPA. Plaintiffs are fuither entitled to the additional damages that are authorized by Section
541 of the Texas Insurance Code.
XI. EXEMPLARY DAMAGES
ALLSTATE’s and MERRITT’s breach of their duty of good faith and fair dealing owed
to Plaintiffs was done intentionally, with a conscious indifference to the rights and welfare of
Plaintiffs and with "malice" as that term is defined in Chapter 41 of the Texas Civil Practice and
Remedies Code. `These violations by ALLSTATE and MERRITT are the type of conduct which
the State of Texas protects its citizen against by the imposition of exemplary dainages.
Therefore, Plaintiffs seek the recovery of exemplary damages in an amount to be determined by
the finder of fact that is sufficient to punish ALLSTATE and MERRITT for their wrongful
conduct and to set an example to deter-ALLSTATE, MERRITT, and others similarly situated
from committing similar acts in the future.
` xII. ATTORNEYS' FEES
As a result of ALLSTATE’s and MERRITT’s conduct that is described in this petition,
Plaintiffs have been forced to retain the undersigned attorneys to prosecute this action and have
agreed to pay reasonable attomeys' fees., Plaintiffs are entitled to recover these attorneys' fees
under Chapter 38 of the Texas Civil Practices and Remedies Code, Sections 541 and 542 of the

Texas Insurance Code, and Section 17.50 of the DTPA.

16

 

Case 5:16-cV-01131-OLG Document1-5 Filed 11/10/16 Page 18 of 35 .

XIII. WRITTEN DISCOVERY

Plaintiffs’ Request for Dl`sclosure, Requests for Production, and Interrogatori'es to

Defendants are attached hereto. l
XIV. JURY DEMAND

Plaintiffs assert Plaintiffs’ right to a trial by jury, under Texas Constitution Article 1,
Section 15, and make this demand for a jury trial at least 30 days before the date this case is set
for trial, in accordance with Texas Rule of Civil Procedure 216. Plaintiffs tender the fee of $40.00,
as required by Texas Govemment Code Section 51.604.

XV. PRAYER

WHEREFORE, PREl\/IISES CONSIDERED, Plaintiffs pray that ALLSTATE and
MERRITT be cited to appear and answer herein, and that upon trial hereof7 said Plaintiffs have
and recover such sums as would reasonably and justly compensate them in accordance with the
rules of law and procedure, both as to actual damages, consequential damages, treble damages
under the Texas Insurance Code and Texas Deceptive Trade Practices Act, and all punitive,
additional, and exemplary damages as may be found In addition, Plaintiffs request the award of
attorneys’ fees for the trial and any appeal of this case, for all costs of court, for prejudgment and
post judgment interest as allowed by law, and for any other and further relief, at law or in equity,

to Which they may show themselves to be justly entitled

17

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 19 of 35

Respectfully submitted

SoLis & Si\/iiTH, P.C. _
12703 Spectrum Drive, Suite 100
San Antonio, Texas 78249
Telephone: (210) 223-5000
Telecopier: (210) 223-5007

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CARLOS E. SOLIS
State Bar No. 24002972
carlos@solisandsmithlaw.com

 

PAUL A. SMITH, JR.
State Bar No. 24015025
paul@solisandsmithlaw.com

' ATTORNEYS FOR PLAINTlFFS,

FRANCISCO MAGALLANEZ AND
MARIA MAGALLANEZ

18

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 20 of 35

CAUSE NO.
FRANCISCO MAGALLANEZ AND § IN THE DISTRICT COURT-
MARIA l\/[AGALLANEZ § `
§

VS. § JUDICIAL` DISTRICT

. §
ALLSTATE FIRE AND CASUALTY' §
INSURANCE COMPANY AND §
MARC MERRITT § BEXAR COUNTY, TEXAS

PLAINTIFFS’ REOUEST FOR DISCLOSURE,
REOUESTS FOR PRODUCTIOI\L AND INTERROGATORIES TO
DEFENDANTS ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY
AND MARC MERRITT

TO: Defendants, ALLSTATE FIRE AND CASUALTY lNSURANCE COMPANY and

MARC MERRITT, by and through their registered agents for service of process along

with Plaintiffs’ Original Petition, Which is attached hereto.

COME NOW FRANClSCO MAGALLANEZ and MARIA MAGALLANEZ
("Plaintiffs") and, pursuant to the Texas Rules of Civil Procedure, hereby serve their Request for
Disclosure, Requests for Production, and Interrogatories. Plaintiffs request that Defendants timely

_ and properly respond to these discovery requests within 50 days of service in accordance with the

Texas Rules of Civil Procedure. ,

19

 

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 21 of 35

Respectfully submitted,

SOLIS & SMITH, P.C.

12703 Spectrum Drive, Suite 100
San Antonio, Texas 78249
Telephone: (210) 223-5000
Telecopier: (210) 223-5007

ja gm

CARLOS E. SOLlS
State Bar No. 24002972
carlos@solisandsmithlaw.com

 

PAUL A. SMITH, JR.
State Bar No. 24015025
paul@solisandsmithlaw.com

ATTORNEYS FOR PLAINTIFFS,
FRANC.ISCO MAGALLANEZ AND
MARIA MAGALLANEZ

CERTIFICATE OF SERVICE

l certify that a true and correct copy of the foregoing was served along with Plaintiffs’
Original Petition on the Defendants in accordance with the Texas Rules of Civil Procedure.

B fla

 

CARLOS E. SOLIS
PAUL A. SMITH, JR.

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ll.

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 22 of 35

INSTRUCTIONS

Produce the Documents in your possession, custody, or control, as such phrase is defined
in Texas Rule of Civil Procedure 192.7(b), described in the attached requests for
production, at the offices of the undersigned counsel within thirty (30) days following
service of the request upon you or your attorney.

Please respond to the attached lnterrogatories in accordance with the requirements of
Texas Rule of Civil Procedure 197 and return your responses to the offices of the

undersigned counsel within thirty (30) days following service of the request upon you or
your attorney.

Please respond to the attached Request for Production in accordance with the
requirements of Texas Rule of Civil Procedure 196 and return your responses to the
offices of the undersigned counsel within thirty (30) days following service of the request
upon you or your attorney

Pursuant to Rule 197.2(d), your lnterrogatory answers must be verified Pursuant to Rule
197.2(c), where appropriate, you may optionally produce records in response to the
Interrogatories. Place your response to each Request and lnterrogatory in a separate
document and restate each Request and lnterrogatory followed by your response

Singular and masculine forms of any nouns` or pronouns shall embrace and be applied as
the plural, feminine, or neuter, as the context requires, and vice versa.

The past tense of any verb shall embrace and be applied as the present tense, as the
context requires or as applicable, or vice versa.

Each request is to be construed and answered or responded to separately and
independently, and is not to be referenced to any other request for purposes of limitations.

These requests and interrogatories and your answers to them may be offered in evidence
at the trial of this case.

Your failure to respond to these requests and interrogatories as required by the Texas
Rules of Civil Procedure within the time required may result in entry of judgment against
you, assessment of attorney's fees against you, or other sanctions as determined by the
Court.

These requests are continuing in nature and require supplementation as soon as practical
if you or your attorney obtain information which reveals that your answers were incorrect
or incomplete when made or that your answers are no longer correct or complete.

Documents produced pursuant to these requests should be tendered either in the precise

form or manner as they are kept in the usual course of business, or organized and labeled
to correspond with the categories in the requests to which they respond

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Case 5:16-cV-01131-OLG Docume_nt 1-5 Filed 11/10/16 Page 23 of 35

These requests include request for production of electronic or magnetic data by either: (1)
providing the undersigned counsel with access to the medium upon which such date is
kept so that such data may be reviewed, copied and/or printed; or (2) providing the
undersigned counsel with a copy of such data on disk, CD, tape or other acceptable
medium in a form in which it may be reviewed, copied and/or printed

The Interrogatories and Requests herein requesting information concerning legal
contentions and the factual bases of such contentions are propounded pursuant to Texas
Rules of Civil Procedure, Paragraph l92.3(j).

lf you withhold any Documents from production, please identify the information and
material withheld and the Specific privilege asserted for each item or group of items
withheld, as required by Texas Rules of Civil Procedure 193.3(b). THIS IS A
REQUEST FOR A PRIVILEGE LOG.

22

Case 5:16-cV-01_131-OLG Document 1-5 Filed 11/10/16 Page 24 of 35

DEFINITIONS

"Defendant" or "ALLSTATE FIRE AND CASUALTY lNSURANCE COl\/IPANY,"
and/or “MARC MERRITT,” "You," "Your," and/or "Yourself' means Defendants,
ALLSTATE FIRE AND CASUALTY INSURANCE COl\/IPANY and/or MARC
MERRlTT, and their agents, representatives, attorneys, and any other person or entity
acting on behalf of them or any of the foregoing.

"Plaintiff" means Plaintiffs, FRANC[SCO MAGALLANEZ AND l\/IARIA
MAGALLANEZ, and their agents, representatives, attorneys, and any other person or
entity acting on behalf of them or any of the foregoing

The "Property~" means the residence(s) specifically described in Plaintiff"s Petition and
which is the insured’s property(ies) at issue in this Lawsuit.

The "Lawsuit" means the above-styled and numbered case.

l‘Party" or "Parties" shall mean any and/or all parties to the Lawsuit, including Plaintiff
and/or any Defendants.

The "Petition" means Plaintiffs’ Original Petition and/or any amendments and
supplements thereto filed in the Lawsuit.

l The "Policy" means Policy Number(s) issued by Defendant, which is the basis of this
Lawsuit.

The Word "Document" or "Documents" is used herein in its broadest sense to include any
medium upon or with which information is recorded or preserved which belongs to, or is
in or subject to the possession, custody or control of, any of the Parties named and
defined hereinabove, by whomever generated or received, including without limitation:
writings; printings; drawings; graphs; charts; notes; typewritings; photographs; slides;
motion pictures; videotapes or cassettes; phonographs records; type or other mechanical
recordings; computer records; electronic mail (e-mail - whether in electronic form or
printed on paper or in any other form); information storage devices; disks; or printouts;
brochures; pamphlets; maps; surveys; calendars; contracts; interoffice communications;
telephone recordings; ledgers; books; statements of account; journals; notices; letter;
catalogs; canceled checks; bank statements; .invoices; bills; diaries; purchase orders;
memoranda of telephone communications; telegrams; telexes or "TWX's"; telecopies;
drafts or preliminary versions of the foregoing; communications to or from any
governmental or law enforcement sub-division, officer, or agency; and, any other
instrument, writing, recording, or data compilation of any nature whatsoever, including
any carbon, photographic, microfilm, or other type of copy of such items, if such copy is
different from the original by reasons of any markings, additions, commentaries,
revisions, deletions, or substitutions. This definition requires you to search for and
produce electronic Documents.

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Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 25 of 35

The term "person" as used herein shall mean and include an individual, sole
proprietorship, association, firm, partnership, joint venture, corporation, board,
committee, agency, commission, or any other legal entity of any type for any purpose,
whether public or private.

The terms "reflecting" or "evidencing," when used in reference to a certain subject or
thing as used herein, shall mean and include to reflect, to evidence, to mention, to
discuss, to describe, to explain, to embody, to constitute, or to include that subject or
thing.

The term "correspondence" means the written or unwritten transmittal of information or
data in the form of facts, ideas, inquiries or otherwise, including but not limited to e-
mails, text messages, instant messages, written Documents, facsimiles, saved computer
data, and audio and video recordings

"l\/leeting" means any encounter between two or more persons during which an oral or
written communication occurred and includes, but is not limited to, formal and informal
gatherings, conversations and telephone conversations.

The term "communicate" or “communication" shall mean (a) every manner or means of
communication, disclosure, transfer, or exchange of information and, (b) every
communication, disclosure, transfer, or exchange of information, whether made or
accomplished orally or by Document, Whether in person, by telephone, mail, e-mail,
facsimile, personal delivery, or otherwise. Coinmunications includes, but is not limited
to, all agreements

The term "or" as used herein shall mean and include "and" or "and/or".

The term l’all" as used herein shall mean "any" and "all".

The term "including" as used herein shall mean "including but not limited to".

The term "fact" as used herein shall include, without limitation, every relevant matter,
occurrence, act, event, transaction, occasion, meeting, Document, instance, circumstance,

recitation, Writing, or other happening

Certain other terms may be defined within the discovery requests herein.

24

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 26 of 35

REQUEST FOR DISCLOSURE

Pursuant to Texas Rule of Civil Procedure 194.2, Plaintiff requests that you disclose,

within 50 days of the service of this request, the information or material described in Rule 194.2

(H) - (1)~

REQUESTS FOR PRODUCTION AND INTERROGATORIES

Please produce the following documents or tangible things and/or answer t_he following
interrogatories as applicable:

l.

A complete, certified copy of the insurance Policy(s) in effect on the date of Plaintiffs
claim(s).

The entire claims investigation files generated and maintained by Defendant in the
ordinary course of business pertaining to Plaintiff’s claim(s) making_the basis of this
lawsuit.

Your entire claim file regarding the Property.

All training and educational materials which instruct claims adjusters or claims handlers
in handling claims for property damage and water damage coverage under homeowners'
insurance policies in Texas. This request is limited to the last five (5) years

All training and educational materials which instruct claims adjusters or claims handlers
in handling claims for coverage of property and water damage claims under homeowners'
insurance policies in Texas. This request is limited to the last five (5) years

All procedure or policy manuals or guides meant to guide and assist claims adjusters or
claims handlers in handling claims for property and water damages, including the criteria
for and the process for evaluating whether coverage exists under homeowners' policies
in Texas. This request is limited to the last five (5) years

All procedure or policy manuals or guides meant to guide and assist claims adjusters or
claims handlers in handling claims for property and water damages to the liouse,
including the criteria for and the process for evaluating whether coverage exists under
homeowners' insurance policies in Texas. This request is limited to the last five (5)
years

All communications and documents, including electronic, between Defendant and

Plaintiff regarding Plaintiffs claim(s).

All communications and documents, including electronic, between Defendant and any
third party regarding Plaintiff’ s claim(s).

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Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 27 of 35

All communications and documents including electronic, between Defendant and any
other defendant(s) in this Lawsuit regarding Plaintiff s claim(s).

All communications and documents, including electronic, between Defendant's business
departments including all persons part of the Defendant’s company regarding Plaintiff s
claim(s).

All communications and documents Defendant sent to any other defendant(s) in this

Lawsuit regarding Plaintiff or_ the Property, after Plaintiff made their claim(s) for
coverage

All photographs diagrams, drawings, or other graphic depictions of Plaintiff’s and/or the
Property.

Any and all documents reports, estimates, data, emails, notes, photos, videos, manuals,
guides, and summaries regarding the insurance claim(s) made the basis of this Lawsuit,
including but not limited to all estimates prepared by all claims adjusters of Defendant
regarding the Property and all reports prepared by all engineers hired by Defendant to
inspect, test, or observe the Property.

All reports and other documents from governmental agencies or offices regarding
Plaintiff’s Property or containing officially kept information regarding Plaintiffs
Property.

Any and all claims files and claim reports, including but not limited to notes, emails,
data, photos, videos, manuals guides, summaries and claim documents, regarding all
homeowner insurance claims made by Plaintiff under their homeowner insurance
policies, specifically regarding damage to the exterior and interior of Plaintiffs property.
This request is limited to the last ten (10) years

Any and all records and/or documents explaining criteria utilized to qualify vendors for
the "approved vendor list."

Any and all records and/or documents maintained by person(s) responsible for
maintaining and updating the "approved vendors list."

Any and all records and/or documents maintained by person(s) responsible for creating
the criteria utilized to qualify vendors, including contractors and roofing companies, for
the "approved vendors list".

All documents including reports, estimates, data, emails, testing, sampling, videos and
photographs received by Defendant from any source regarding inspections of Plaintiffs
property.

Any and all records Defendant received, including those obtained by way of deposition

by Written questions, regarding Plaintiff’s Property.

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Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 28 of 35

Any and all records or documents Defendant has reviewed and/or obtained regarding
Plaintiffs Property.

Any and all claims files Defendant has reviewed and/or obtained regarding Plaintiffs
Property. '

Any and all records or documents Defendant has reviewed and/or obtained by third
parties regarding Plaintiffs Property.

All materials meant to instruct and guide claims adjusters under Texas law and/or
company policy with regard to unfair claims settlement practices unfair claims handling
practices standards to be met in adjusting or handling first party insurance claims and/or
avoiding charges of bad faith. This request is limited to the last five (5) years

All bulletins or other communications received from the Texas Department of lnsurance,
the Texas Insurance Commissioner, or their agents regarding practices in the handling of
claims for property and water damage under homeowner insurance policies in Texas.
This request is limited to the last five (5) years

All materials meant to instruct and guide claims adjusters under Texas law and/or
company policy with regard to unfair claims settlement practices, unfair claims handling
practices standards to be met in adjusting or handling first party insurance claims or
avoiding charges of bad faith. This request is limited to the last five (5) years

All materials meant to instruct and guide claims adjusters under Texas law and/or
company policy with regard to understanding and complying with the Texas Insurance
Code §541.060 et seq. This request is specifically limited to the last five (5) years

All materials meant to instruct and guide claims adjusters under Texas law and/or
company policy with regard to understanding and complying with the Texas Insurance
Code §542.055 et seq. This request is specifically limited to the last five (5) years

Any and all materials documents statements and/or files that demonstrate Defendant's
net worth and Defendant's net'income. This request is limited to the last five (5) years

Any and all materials documents statements and/or files that reflect complaints and/or
lawsuits filed by insured's against Defendant regarding the-handling, review and/or
adjusting of homeowner claims in Texas. This request is limited to the last five (5) years

A copy of each advertisement Defendant has used, published and/or distributed, through
any means in Texas. This request is limited to the last five (5) years

Any and all reference materials handouts manuals outlines articles and/or documents
used or relied upon by Defendant to conduct any seminars and/or continuing education
classes for Defendant's employees and/or adjusters regarding the adjusting and/or
handling of homeowner insurance claims commercial insurance claims and property

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Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 29 of 35

damage and water damage claims in Texas This request is limited to the last five (5)
years -

Any and all materials handouts manuals outlines articles and/or documents issued by
Defendant's to claims representatives and/or adjusters or received by claims
Representatives and/or adjusters or relied upon by claims representatives and/or adjusters
pertaining to the adjuster and/or handling of homeowner insurance claims commercial
insurance claims and property damage and water damage claims in Texas This request
is limited to the last five (5) years

Any and all reference materials handouts, manuals outlines articles and/or documents
distributed and/or disbursed to Defendant's employer, employees agents and/or
representatives in connection with attendance at seminars and/or continuing education
classes regarding the adjusting and/or handling of homeowner insurance claims
commercial insurance claims property and water damage claims in Texas within the
last five (5) years '

Any and all material reflecting Defendant's attendance policies for adjusters and claims
representatives at seminars and/or continuing education classes regarding the adjusting
and/or handling of homeowner insurance claims commercial insurance claims and
property damage and water damage claims in Texas This request is limited to the last
five (5) years

Any and all materials documents files and/or reports sent to Defendant by its employer,
employees agents and/or representatives on a monthly, weekly, or daily basis regarding
Plaintiffs claim(s). Include any and all field notes and summaries of the room-by-room
scope of Plaintiff”s property.

Any and all materials documents files and/or reports containing list(s) of contractors and
engineering companies that have been approved and/or recommended for performance of
services for Defendant in Texas specifically related to homeowner insurance claims
This request is limited to the last five (5) years

Any and all computer programs electronic data, documents and/or manuals used by the
adjusters and claims representatives to perform property damage and water damage
estimates relating to homeowner insurance claims in Texas including a complete copy of
the computer program used to adjust Plaintiffs claim(s). This request is limited to the last
five (5) years

Any and all reference materials handouts, manuals outlines articles and/or documents
that have been distributed by and/or disbursed to Defendant regarding the price estimates
of contractors and changes of those estimates within different geographical areas of the
State of Texas This request is limited to the last five (5) years

Any and all materials documents files and/or reports of contractors and engineering
companies that have been approved and/or recommended for performance of services for

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Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 30 of 35

Defendant in Texas. This request is limited to the last five (5) years

Any and all materials documents files invoices and/or reports of any and all
contractors and engineering companies retained to investigate, inspect, and/or evaluate
Plaintiffs claim(s) that are the subject of this lawsuit, prepared on behalf of the
Defendant.

Any and all materials documents files invoices and/or reports of any and all
contractors and engineering and/or foundation repair companies retained to investigate,
inspect, and/or evaluate claims similar in nature to Plaintiff’ s claim(s) asserted in this
lawsuit, prepared on behalf of Defendants. This request is limited to the State of Texas
This request is limited to the last five (5) years

Any and all activity logs relating to Plaintiff’s claim(s) for property and water damage
claims to their Property, specifically the claim(S) made the basis of this Lawsuit.

Any and all documents reflecting company guidelines procedures or policies that serve
as criteria for evaluating whether claims are covered or excluded by any policy
provisions Defendant contends applied to Plaintiffs claim(s).

Any and all organizational charts for Defendant.

Any and all organizational charts or diagrams for each department, unit, or section of
Defendant to which Plaintiffs claim(s) was assigned This request is limited to the last
five (5) years

Any and all charts or diagrams reflecting the chain of command or supervisory hierarchy
relating to each person involved in handling Plaintiff’ s claim(s).

Any and all documents reflecting or relating to Defendant’s decisions to pay or deny
additional expenses to or on behalf of Plaintiff in this case.

Any and all records reflecting payment to Plaintiff concerning Plaintiff s claim(s) made
the basis of this suit.

Any and all documents including correspondence and checks exchanged between
Defendant and any and all vendors concerning Plaintiffs claim(s).

Any and all documents relating to or reflecting referrals of vendois to Plaintiff or any
insureds

If you are withholding documents based upon the assertion of a privilege, please produce
a privilege log, detailing with reasonable particularity a description of the documents
withheld the number of documents and the privilege which Defendant claims properly
precludes the information from being discovered

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Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 31 of 35

Any and all advanced or specialized certifications of personnel who inspected
investigated and/or supervised the adjusting of the claim(s) pertaining to Plaintiff’s
Property.

Any and all documents including contracts rules guidelines and/or instructions
exchanged between Defendant, Plaintiff, and any other entities with whom Defendant
worked or communicated regarding Plaintiffs Property.

All physical and/or tangible items and/or potentially usable evidence obtained by or on
behalf of Defendant from the Property.

Any and all indemnity agreement between Defendant and any other Defendant, person,
entity, finn, or corporation against which a claim of indemnification-might be brought
because of the facts in this lawsuit.

Any and all complaint policies and procedures of Defendant regarding the handling of
complaints made by homeowner insured's. This request is limited to the last five (5)
years

Copies of all job descriptions of employees that adjusted or in any way supervised the
handling of Plaintiff’ s claim(s) regarding the Property.

All non-privileged e-mails regarding the investigation, adjusting and/or handling of the
claim(s) made the basis of this Lawsuit.

All e-mails between Defendant's adjusters engineers supervisors officers and/or
executives regarding changes in the educational programs relating to the handling of
property damage and water damage claims

All computer files databases electronically-stored information or computer-stored
information regarding property damage and water damage that have been compiled
prepared and/or supervised by Defendant, whether or not they are in Defendant's
possession or in the possession of another entity.

True and complete copies of all billing records from any and all adjusters and engineers
regarding the claim(s) made the basis of this Lawsuit.

True and complete copy of activity logs filed by the staff and adjusters on the file.

Any and all reports documents or correspondence containing the names and locations of
all adjusters who have worked on this file to the present.

True and complete copies of all billings on the file from the adjusters including the time
sheets or documentation used to justify the billing

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Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 32 of 35

Any and all reports documents or correspondence reflecting the reserving and payment
history of indemnity, expenses and vendors on this file including but not limited to dates
changes and requests made by adjusters This request is limited to the last five (5) years

Any and all correspondence and lawsuits involving vendors staff or management
involved with property and/or water damage claims from 2003 to present.

Any and all correspondence and lawsuits concerning the issues of honesty, conflict of
interest, criminal actions past criminal records criminal conduct, fraud investigation
and/or inappropriate behavior of any person associated with the handling of claims files
management of property damage and water damage, including staff and vendors

Any and all answers made in previous discovery requests for lists of property and water
damage databases

Any and all answers and affidavits made by Defendant and its counsels in previous

discovery requests for training procedures training manuals for property and water
damage claims

Any and all reports documents or correspondence reflecting the history of payment and
reserves on this file.

Any and all reports documents or correspondence containing names of designated
individuals who gave testimony as Person l\/Iost Knowledgeable as a corporate
representative of Defendant for property claims property damage and water damage for
2003 through the present, including but not limited to any lists of the lawsuits where
testimony was given.

Any and all training manuals used by you to train your adjusters on' property damage and
water damage claims This request is limited to the last five (5) years

Any and all correspondence from Defendant to and from vendors regarding any
instructions procedures changes training, payments and billing for property, property
damage and water damage claims for 2003 through the present, including but not limited
to computer disks e-mails paperwork and manuals

Any and all reports documents or correspondence containing a list of attendees and
dates and locations of all meetings conducted by Defendant for all the adjusters and
Defendant staff for property damage and water damage claims training This request is
limited to the last five (5) years '

Any and all reports documents or correspondence containing lists of files with written
complaints or DOI complaints on property damage and water damage claims previously

gathered and produced in other TDI complaints or lawsuits This request is limited to the
last five (5) years

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Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 33 of 35

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Any and all reports documents or correspondence containing lists of all suits filed
against Defendant or its entities or affiliates nationwide containing an element of property
damage and water damage disputes for 2003 through the present.

Any and all reports documents or correspondence containing lawsuits where lists of all
suits filed against Defendant or its entities or affiliates nationwide containing an element
of property damage and water damage or disputes for 2003 through the present were
previously produced

Copies of front and back of all checks paid under the insurance Policy issued by
Defendant for which an insurance claim was filed by Plaintiff that forms the basis of this

Lawsuit. (Specifically, the insurance policy in effect during the time of the insurance
claim).

Copies of the front and back of all checks paid on the insurance claim made the basis of
this Lawsuit.

Copies of the front and back of each negotiated check(s) made payable solely or co-
payable to Plaintiff under the insurance Policy issued by Defendant for which an
insurance claim was filed by Plaintiff that forms the basis of this Lawsuit. (Specifically,
the insurance policy in effect during the time of the insurance claim).

Copies of the front and back of each negotiated check made payable solely or co-payable
to Plaintiff regarding the insurance claim made the basis of this lawsuit.

Copies of the front and back of each check made payable solely or co-payable to Plaintiff
under the insurance Policy issued by Defendant for which an insurance claim was filed
by Plaintiff that forms the basis of this Lawsuit. (Specifically, the insurance policy in
effect during the time of the insurance claim).

Copies of the front and back of each check made payable solely or co-payable to Plaintiff
regarding the insurance claim made the basis of this lawsuit.

Studies commissioned by Defendant including any done by a law firm to analyze their
claim(s) management strategies and/or to help them improve corporate profits

Affidavits or depositions of the employee(s) who handled Plaintiff s claim(s) to their
supervisors in other cases involving this same or similar allegations in this case.

The entire underwriter's file for underwriting the insurance policy made the basis of this
Lawsuit.

All notes reports documents or applications created and/or generated by Defendant's
underwriting department related to' the insurance Policy made the basis of this lawsuit.

32

Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 34 of 35

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All documents and communications including electronic, between any engineer(s) or
engineering company(s), used to evaluate Plaintiff’s claim(s), or other person(s) used in
handling Plaintiff’s claim(s) and Defendant in the last five years regarding, in any way,
the investigation of a homeowners’ residence, commercial building or church involving
damages to the structures or its contents

State the name, address telephone number, and position or job title of all persons
answering these interrogatories

lf you contend that any conditions precedent to Plaintiff’ s recovery have not been met,
whether said conditions be stated in the insurance policy or required by law, please state
what conditions have not been met and describe the factual bases for such contention.

List the date(s) Defendant requested Plaintiff to provide any of the named defendants in
this Lawsuit with requested information which Defendant contends was required in order
to properly evaluate Plaintiff s claim(s).

List the date(s) Defendant received Plaintiff’s notice of claim(s) for coverage for
property damages and the date(s) Defendant first acknowledged Plaintiff`s notice of
claim(s) and in what form the notice of claim was submitted

lf you contend that Plaintiff did not provide any of the named defendants in this Lawsuit
with requested infonnation which you contend was required in order to properly evaluate
Plaintiff s claim(s), please state what information was requested and not provided and
the dates of such alleged requests

State the name, address telephone number, and job title or position of all persons who
investigated reviewed handled or made decisions regarding Plaintiffs claim(s). For all
such persons who are no longer employees agents or representatives of any defendant,
please so indicate and provide the person's last known address and telephone number.

State every basis in fact and in the terms of Plaintiff" s Policy, for Defendant's denial
and/or recommendation of denial of Plaintiff’s" claim(s) under the Policy.

State every basis in fact and in the terms of Plaintiff` s Policies, for Defendant's failure to
pay for Plaintiffs full damage claim(s) under the Policy.

State every basis in fact and in the terms of Plaintiffs Policy, for the amount of money

Defendant has either paid or offered to pay, if any, for Plaintiff’ s claim(s) under the
Policy.

State the cause number, style, and court for each lawsuit filed against Defendant in the
last five years alleging misconduct, improper claims' handling, bad faith, violations of
Texas Insurance Code §541.060 er seq or violations of Texas Insurance Code §542.055 et
seq. in the handling of first party claims for property damage and water damage coverage

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Case 5:16-cV-01131-OLG Document 1-5 Filed 11/10/16 Page 35 of 35

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under homeowners' insurance policies

State the legal theories and describe the factual bases for your contention, if you so
contend that Defendant fully complied with each of the claims handling requirements
codified in Texas Insurance Code §541.060.

State the legal theories and describe the factual bases for your contention, if you so
contend that Defendant fully complied with each of the claims handling requirements
codified in Tex. Ins. Code §542.055.

State the legal theories and describe the factual bases for your contention, if you so
contend that Defendant fully complied with each of the claims handling requirements
codified in Tex. lns. Code §542.056.

State the legal theories and describe the factual bases for your contention, if you so
contend that Defendant fully complied with each of the claims handling requirements
codified in Tex. lns. Code §542.058.

State the name, address and telephone number of each policyholder who gave Defendant
written notice, within the last five years of a complaint about Defendant's handling of
first party claims for property and water damage coverage under homeowner insurance
policies in Texas `

State the name, address and telephone number of each policyholder from whom
Defendant recorded a complaint, within the last five years about Defendant's handling of

first party claims for property and water damage coverage under homeowner policies in
Texas ’

For each complaint identified in the responses to the two interrogatories immediately
preceding this interrogatory, please state whether any Texas governmental regulatory
agency communicated with Defendant regarding the complaint, or whether Defendant
communicated with any governmental agency regarding the complaint lf the response is
yes for any such complainant, state the name of the agency, the name of the government's~
representative with whom Defendant exchanged communication, and the reason for the
governmental agency's involvement

For each investigation by a Texas governmental agency within the last five years into
Defendant's practices when handling first party claims for property and water damage
coverage under homeowners' policies state the name of the agency, the names of all
investigators and the names of all government representatives with whom Defendant
communicated for purposes of the investigation.

Identify by name, address and telephone nuinber, all persons or entities agency or
agents and brokers that have issued Plaintiffs Policy.

34

 

 

